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                                               KIRKLAND &.. ELLIS LLP
                                                       AND AFFILIATED PARTNERSHIPS



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                                                          August 8, 2011

       BY ELECTRONIC MAIL
       AND FIRST CLASS MAIL

       Carter L. Williams
       Sutherland Asbill & Brennan LLP
       1001 Fannin Street, Suite 3700
       Houston, TX 77002

                           Re:         Transocean Privilege Logs in In Re: Oil Spill by the Oil Rig "Deepwater
                                       Horizon" in the Gulf ofMexico, on April 20, 2010, MDL No. 2179

       Dear Carter:

               I write regarding two categories of issues with Transocean's Seventh Supplemental
       Privilege Log. First, Transocean's privilege log continues to include entries that are improper
       for the reasons described in my July 6,2011 letter and subsequent letters, namely entries that (1)
       claim work product protection over documents related to Transocean's internal investigation,
       which has been waived because of Transocean's publication of its investigation report, and (2)
       list only the "DWH Investigation Team" as the author, without identifying the actual individuals
       who created the document. Second, this letter describes how the supposed "deficiencies" listed
       in your August 3, 2011 letter concerning BP's privilege logs are present in Transocean's own
       privilege log.

                 A.        Transocean's Privilege Log Asserts Invalid Privilege Claims Over
                           Documents Related To Its Internal Investigation.

               On July 6, 2011 I sent you and your colleagues a letter explaining that (1) under
       applicable case law, Transocean's disclosure of its internal investigation report waived any work
       product privilege that might have applied to the underlying documents; and (2) Transocean's
       privilege log improperly listed only "DWH Investigation Team" as the author in numerous
       entries. The BP Parties requested production of all documents in these two categories. After
       additional correspondence on these issues from Transocean to the BP Parties on July 15 and July
       20 and from the BP Parties to Transocean on July 15 and July 21, the Court ordered Transocean
       to produce a revised privilege log by July 28. We have now reviewed Transocean's Seventh
       Supplemental Privilege Log, and it continues to raise the same issues as described in my July 6
       letter and subsequent correspondence.

Hong Kong      London           Los Angeles   Munich    New York        Palo Alto    San Francisco   Shanghai        Washington, D.C.
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        Specifically, we reviewed Transocean's privilege log for documents (i) related to
Transocean's internal investigation, (ii) where the only claim of privilege is work product, and
(iii) whose description does not assert that they were prepared at the direction of counsel. (This
last condition was applied because, as explained in my July 6 letter, the BP Parties do not seek
documents that fall within FRCP 26(b)(3)(B)). Hundreds of documents on Transocean's
privilege log come within these parameters, including 48, 66-66b, 67, 71-75, 77, 79, 79a, 81, 90,
92, 96-101a, 107, 108, 108a, 115, 116, 119-122, 131-135, 139, 140-142, 150, 154, 161, 165,
173-175, 192,201,221-224,226,231,234,241,243,244,319, 320, 327-329, 333, 336-342,
348-393,395-404,407-410,412-416,419,423-426, 445, 493-511, 523-525, 532, 537, 552, 556,
576,577,578,585-587,589-591,594, 598-609,622,623,758-767,769,770,772-776,796-817,
1040-1042, 1045-1050, 1054, 1055, 1058-1062, 1069-1072, 1078, 1085, 1091, 1092, 1096,
1099-1104, 1107-1111, 1114, 1126, 1128, 1133, 1139, 1140, 1143, 1144, 1146-1149, 1379,
1593, 1985, 1986, 1988-1990, 1992, 1994, 1995, 1997,2172,2183,2231,2233,2236,2237,
2300, 2490, 2491, 2578, 2585, 2586, 2625. For the reasons described in my July 6 letter and
subsequent correspondence, any work product privilege over such documents has been waived.
The BP Parties request that Transocean immediately produce such documents.

        Similarly, Transocean's current privilege log contains several hundred entries where the
author is listed only as "DWH Investigation Team," including 122, 154, 161, 165, 192,201,215,
221,222,223,224,226,231,234,241,243,244, 319, 320,423,425, 426,445,479,480,486,
487,489,492,493,495,496-511,519,523-527,532,537,558-560,562,563,565-568,585-587,
589, 590, 591, 594, 615, 622, 623, 628, 629, 633-635, 637-647, 653, 655-658, 660, 661, 663-
678,681,682,753-767,769,770,772-776, 779-789, 796-817,907-913,933,934,938,939,943-
945,947,949,972-979,981,985-987,989,990-1021, 1024-1026, 1028-1030, 1031, 1036-1039,
1041, 1042, 1091, 1092, 1192, 1205, 1211, 1229, 1231, 1274-1281, 1285, 1289, 1290, 1292,
1302, 1303, 1305, 1309, 1313-1315, 1319, 1325, 1326, 1330, 1347-1349, 1353, 1354, 1359,
1362, 1363, 1366, 1369, 1370, 1375-1378, 1380-1395, 1398, 1400-1409, 1418, 1433, 1435,
1463, 1464, 1470, 1473, 1474, 1494-1496, 1498, 1542, 1545, 1548, 1566-1578, 1581-1587,
1589-1591, 1593-1595, 1597, 1601, 1602, 1613-1618, 1623-1625, 1627, 1628, 1646, 1655-1657,
1659, 1661-1670, 1673, 1674, 1676-1679, 1682, 1683, 1690-1703, 1710, 1714-1717, 1719-
1741, 1764, 1769,1771,1773-1775, 1777-1783, 1786-1793, 1795-1798, 1801, 1802, 1809-1817,
1820, 1821, 1825, 1826, 1828-1841, 1845, 1847, 1853, 1856, 1859, 1860, 1867, 1868, 1878-
1883, 1886-1889, 1891, 1892, 1896, 1897, 1899-1926, 1928, 1929, 1931-1933, 1936, 1947-
1949,1952-1954,1962,1966-1973,1975,1976, 1980-1990, 1992-1997,2000,2001,2005-2015,
2020,2022-2041,2042,2046,2047,2102-2115,2352, 2400, 2401, 2888, 2973. For the reasons
described in my July 6 letter, and as noted again in my July 21 letter, the failure to list the
individual authors prevents the BP Parties and others from determining whether a valid privilege
is being asserted. Therefore, any privilege is waived and the BP Parties likewise request that
Transocean immediately produce these documents.
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        Please let me know promptly whether Transocean will produce the documents described
in the two proceeding paragraphs. If Transocean will not do so, please let me know pursuant to
Federal Rule of Civil Procedure 37 whether you believe we need to meet and confer further on
these issues.

       B.      Transocean's Privilege Log Is Full Of The Same Alleged "Deficiencies" Of
               Which Transocean Accuses BP.

        Alex Pilmer has sent a separate letter to you addressing Transocean's arguments against
BP's privilege logs. To the extent that Transocean nevertheless seeks to pursue the claims in
your August 3 letter against BP, the BP Parties request a meet and confer regarding the same
deficiencies in Transocean's privilege log and reserve all other rights.

               1.     Allegations Concerning Privilege Assertions Over Documents Without
                      Any Indication of Attorney Involvement.

        Part I of your August 3 letter ("Documents Distributed Between or Among Non-
Lawyers") asserts that BP's privilege logs "claim attorney-client privilege on hundreds of
documents for which there is no indication that an attorney was involved." You complain of
entries for documents that "identify no attorney, are not attachments to emails where an attorney
is listed, nor state that the document was prepared at the request of an attorney." Yet
Transocean's privilege logs are strikingly deficient in these same respects:

       Transocean's most recent privilege log includes over one thousand entries -
approximately 40% of the entire log - for which Transocean claims attorney-client privilege, yet
which do not appear to identify an attorney as either the author or a recipient. See, e.g., entries
1154-1156, 1164, 1168, 1170, 1174, 1176, 1178, 1179, 1182-1190, 1192, 1193, 1196-1198,
1200-1202, 1208, 1209, 1211, 1212, 1224, 1225, 1227-1230, 1233, 1234, 1239, 1241-1260,
1262-1280, 1283-1301, 1303, 1306-1309, 1311, 1312, 1316-1329, 1331-1352, 1354, 1356-1375,
1381,1392-1406,1411-1413, 1415-1432, 1435, 1436, 1438-1448, 1450, 1451, 1453-1472, 1474-
1581, 1583, 1585-1591, 1595, 1597, 1598, 1600-1671, 1673, 1678-1680, 1682, 1683, 1686-
1694,1696-1703,1710-1712, 1714-1718, 1721-1783, 1788-1817, 1825-1827, 1830, 1838, 1844,
1845, 1847, 1849, 1851, 1854-1858, 1861-1864, 1867-1885, 1892-1946, 1950-1954, 1962, 1966-
1975,1977-1981, 1998, 1999,2002-2004,2007-2014,2016-2020,2022-2040,2043-2045,2048-
2082,2102-2109,2113-2115,2123-2125,2134,2135,2139-2141,2143,2144,2148-2150,2153-
2159, 2164-2166, 2173, 2182, 2195, 2200, 2201, 2234, 2235, 2245-2247, 2254-2266, 2268,
2269, 2271, 2274, 2275-2277, 2278, 2282, 2283, 2286, 2288, 2290, 2295, 2297, 2303, 2305,
2312,2314-2320,2322-2324,2326,2328,2335,233-2340,2344-2346,2354,2370-2372,2374-
2376, 2378-2380, 2382, 2385, 2387, 2395, 2396, 2399-2403, 2407, 2409-2415, 2417, 2421-
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2423,2426,2431-2437,2446-2449,2458,2461,2473,2475,2477-2484,2486-2489,2493-2502,
2504-2508, 2511, 2513-2521, 2524, 2526, 2531-2535, 2537, 2538, 2541, 2546, 2547, 2556,
2557, 255~ 2562-2568, 2570, 2571, 257~ 258~ 2587, 2588, 2589, 2595, 2597, 2598, 2600-
2604, 2607, 2610, 2612, 2615-2622, 2624, 2626-2632, 2633, 2636-2645, 2649-2651, 2662,
2663, 2666, 2669, 2670, 2671, 2680, 2697, 2699, 2700, 2703, 2704, 2707, 2710-2720, 2723,
2725, 2728, 2755, 2759, 2763, 2768, 2772-2774, 2776-2779, 2787-2790, 2794, 2796, 2800,
2801, 2806, 2809-2811, 2822, 2823, 2828, 2831, 2834, 2867-2883, 2890-2892, 2915, 2943,
2944,2946,2950,2962,2964,2966,2970,2971,2973. For approximately 76 of the documents
for which Transocean asserts attorney-client privilege, Transocean has left the author and the
recipient fields blank. See, e.g., entries 2149, 2150, 2154, 2156, 2158, 2166,2195, 2201, 2246,
2255,2257,2262,2265,2269,2271,2275,2277,2278, 2283, 2286, 2288, 2290, 2297, 2315,
2318-2320, 2323, 2328, 2340, 2345, 2371, 2372, 2374, 2378, 2380, 2399, 2417, 2426, 2432,
2437, 2447, 2480, 2489, 2513, 2546, 2559, 2562, 2565, 2571, 2624, 2699, 2710-2719, 2720,
2763,2779,2788,2789,2794,2800,2806,2809, 2811,2944,2946,2964, 2970. More than 50
entries describe a document as "reflecting legal advice," but fail to identify whose legal advice
they reflect. See, e.g., entries 1291, 1293-1295,2108,2112,2120,2125,2134,2148,2153-2155,
2156, 2166, 2173, 2182, 2201, 2245, 2256, 2257, 2268, 2269, 2274-2276, 2286, 2303, 2314-
2318, 2322-2324, 2346, 2376, 2379, 2380, 2384, 2395, 2407, 2411, 2421, 2426, 2513, 2595,
2597, 2645, 2649, 2650, 2666, 2800, 2822, 2823. Moreover, Transocean asserts attorney-client
privilege for approximately 294 documents where the author is described as the "DWH
Investigation Team" rather than an individual, much less an individual attorney. See, e.g., entries
1192, 1211, 1229, 1274-1280, 1285, 1289, 1290, 1292, 1303, 1309, 1319, 1325, 1326, 1347-
1349, 1354, 1359, 1362, 1363, 1366, 1369, 1370, 1375, 1381, 1392-1395, 1398, 1400-1406,
1418, 1435, 1463, 1464, 1470, 1474, 1494-1496, 1498, 1542, 1545, 1548, 1566-1578, 1581,
1583, 1585-1587, 1589-1591, 1595, 1597, 1601, 1602, 1613-1618, 1623-1625, 1627, 1628,
1646, 1655-1657, 1659, 1661-1670, 1673, 1678, 1679, 1682, 1683, 1690-1694, 1696-1703,
1710, 1714-1717, 1721-1741, 1764, 1769, 1771, 1773, 1774, 1775, 1777-1783, 1788-1793,
1795-1798, 1801, 1802, 1809-1817, 1825, 1826, 1830, 1838, 1845, 1847, 1856, 1867, 1868,
1878-1883, 1892, 1896, 1897, 1899-1926, 1928, 1929, 1931-1933, 1936, 1952-1954, 1962,
1966-1973,1975, 1980, 1981,2007-2014,2020,2022-2040,2102-2109,2113-2115,2400,2401,
2973. As Transocean's privilege log contains approximately 1186 documents for which
Transocean now claims attorney-client privilege, these 294 "DWH Investigation Team"
assertions of privilege (none of which identifies an attorney author) constitute almost a quarter of
Transocean's assertions of attorney-client privilege.
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               2.     Allegations Concerning Documents Sent by a Non-Lawyer to Both
                      Non-Lawyers and Attorneys.

        Part II of your August 3 letter complains that "BP has claimed attorney-client privilege
over hundreds of documents that were sent to both lawyers and non-lawyers." Yet Transocean's
own privilege log lists dozens of entries from a non-lawyer to both lawyers and non-lawyers.
See, e.g., entries 1-3a, 9, 11, 16, 18, 20-22, 1093, 1177, 2238, 2241, 2243, 2272, 2285, 2289,
2294, 2296, 2298, 2327, 2329-2332, 2377, 2386, 2398, 2404, 2408, 2416, 2503, 2512, 2573,
2594, 2596, 2623, 2667, 2696, 2698, 2743, 2747, 2748, 2751, 2753, 2754, 2756-2758, 2762,
2764, 2767, 2769, 2770, 2771, 2775, 2780-2783, 2799, 2802, 2803, 2805, 2807, 2808, 2884,
2945, 2955, 2963, 2965. Moreover, as such a large proportion of Transocean's privilege log
entries lists only the "DWH Investigation Team" and fails to identify any individual authors or
recipients, the actual number of cases where Transocean has asserted privilege over
communications directed to both non-lawyers and lawyers likely is higher than what the BP
Parties can currently ascertain.

               3.     Allegations Concerning Documents Sent to Third Parties (Other than
                      Transocean or its Attorneys).

        Part III of your August 3 letter complains that "BP has claimed attorney-client privilege
on documents that appear to have been sent to third parties." Yet Transocean's own privilege
log asserts privilege over documents sent to parties outside of Transocean or its attorneys. These
documents include entries 2346 and 2409, for which Transocean claims attorney-client privilege,
sent respectively to Greg Childs at West Engineering and Brian Kennedy at FTI Consulting. See
also, e.g., entries 2346, 2396, 2409, 2422, 2504, 2600, 2602, 2641, 2651, 2662, 2663, 2723,
2828,2892,2943,2955. Again, given Transocean's failure to identify any recipients whatsoever
for a large proportion of its privilege log, the number of entries for which Transocean has
claimed privilege over documents directed to third parties is likely higher.

               4.     Allegations Concerning Insufficient Descriptions and Detail of Subject
                      Matter and Attorney Involvement.

        Part IV of your August 3 letter complains that "BP's privilege descriptions are
insufficient and lack detail" and are "generic and brief." For example, you complain that BP's
logs refer to "contractual issues," "contractual matters," "contractual negotiations," etcetera. But
Transocean's own privilege log uses descriptions that are more "generic and brief' for its entries.
These include, for example:

       •   "Communication re: DWH Investigation prepared in anticipation of litigation";
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       •   "Memorandum re: DWH Investigation prepared at the direction of counsel III
           anticipation of litigation";

       •   "Memorandum re: DWH equipment prepared at the direction of counsel                  III
           anticipation of litigation";

       •   "Spreadsheet re: well operations data prepared in anticipation of litigation";

       •   "Draft memorandum prepared at direction of attorney in anticipation of litigation
           regarding well operations"; and

       •   "Draft presentation prepared at the request of counsel to assist with Congressional
           proceedings and in anticipation of litigation."

        Moreover, a number of Transocean's entries simply state: "Draft report prepared under
supervision of counsel and in anticipation of litigation" or "Checklist for draft report prepared
under supervision of counsel and in anticipation of litigation" -- giving no clue of the subject
matter of the document. For these entries, in the words of your August 3 letter, "It is impossible
to determine whether such documents are privileged or even relevant."

       Similarly, your complaint that the BP Parties' privilege logs "do[] not explain how the
attorney's advice relates to that document" is belied by Transocean's own privilege log entries.
Transocean's log repeatedly uses terms such as "prepared in anticipation of litigation" or
"prepared at direction of attorney" without further explanation. See, e.g., entries 1283-1288,
1292, 1296-1301, 1306, 1312, 1321, 1322, 1324, 1326-1329, 1357, 1360, 1361, 1364, 1367,
1372, 1374, 1381, 1392, 1394, 1396, 1397, 1399-1405, 1415, 1420, 1427, 1436, 1438-1446,
1457-1459, 1461, 1462, 1465-1487, 1489-1494, 1496-1547, 1549-1580, 1588, 1605-1609, 1690-
1703, 1723-1741, 1796, 1814, 1815, 1830, 1879, 1893-1897, 1899-1926, 1937-1944, 1951,
1966-1975, 1998, 1999,2002-2004,2007-2014,2016-2020, 2022-2040, 2043-2045, 2103-2107,
2109. In sum, Transocean's privilege log is less detailed than the logs served by BP.

               5.     Allegations Concerning Assertion of Privilege over "Business-Type
                      Documents."

       On page 5 of your August 3 letter you assert that the BP Parties have claimed privilege
over "business-type documents" (for example, documents relating to "human resources issues,"
"press releases," and "media matters"), and question whether such documents actually sought
legal advice or were merely "sent to an attorney directly or indirectly." Once again,
Transocean's privilege logs similarly contain numerous entries indicating "business-type
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documents" without any apparent basis for privilege, such as "Draft report re: worldwide fleet,"
"Draft checklist re: rig transfers," "Draft application to UK Office of Fair Trading," and
"Communication re media issues." See, e.g., entries 1-5e, 7a, 11-15a, 23, 24, 1183, 1185, 1187,
1189,2238,2241,2272,2305,2382,2401,2410,2556,2867-2876.

         Please call me if you have any questions.

                                                     Sincerely,

                                                     ~,~~
                                                     R. Chris Heck


cc:      Richard C. Godfrey, P.e.
         Andrew Langan, P.C.
         Barry E. Fields, P.e.
         R. Alexander Pilmer
         Don K. Haycraft
         Rachel Clingman
         Kerry J. Miller
